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                                                   UNITED STATES DISTRICT COURT
                                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION

UNITED STATES OF AMERICA,                                      )
                                                               )
                                            Plaintiff,         )
                                                               )
STATE OF TEXAS,                                                )
                                                               )
                                            Plaintiff,         )
and                                                            )   Civil Action No. 4:18-cv-03368
                                                               )   Judge EWING WERLEIN, JR.
BAYOU CITY WATERKEEPER,                                        )
                                                               )
                             Plaintiff-Intervenor,             )
                                                               )
                             v.                                )
                                                               )
CITY OF HOUSTON, TEXAS,                                        )
                                                               )
                                            Defendant.         )
                                                               )

                                          FOURTH JOINT REPORT ON THE PROGRESS
                                              OF SETTLEMENT NEGOTIATIONS

              Plaintiffs United States and State of Texas (“State”) and Defendant City of Houston,

Texas (“City”) submit this Fourth Joint Report on the Progress of Settlement Negotiations as

directed by the Court at the conclusion of the February 22, 2019, status conference. The

negotiating teams for Plaintiffs and the City hereby report to the Court that they have reached a

proposed settlement of the claims alleged in Plaintiffs’ Complaint.1

                                                            
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  Counsel for the United States, the State, and the City wish to emphasize to the Court that they
and others working with them are serving as negotiators for the respective Parties. Any
references in this Fourth Joint Report to the Parties reaching a proposed settlement mean that the
negotiating teams have agreed on positions they intend to recommend to the respective Parties’
principals. The final written agreement will be subject to the review and approval of the Mayor
of Houston and the City’s governing body and appropriate officials of the United States and the
State authorized to approve final settlements. Accordingly, “negotiating teams” is used when
reference is made to any party’s proposed settlement position. 
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                            BRIEF BACKGROUND STATEMENT

       On September 20, 2018, simultaneously with filing the joint Complaint of Plaintiffs, the

United States filed an Unopposed Motion to Stay Proceedings to Allow the Parties to Complete

Settlement Negotiations (“Stay Motion”) (ECF No. 2). The Stay Motion was supported by the

State and the City. On September 24, 2018, the Court entered an Order Staying Litigation

Pending Settlement Negotiations (“Stay Order”) (ECF No. 8). The Stay Order directed Plaintiffs

and the City to file a joint report on settlement progress every 45 days following entry of the Stay

Order. Id.

        Pursuant to the Stay Order, Plaintiffs and the City submitted to the Court three Joint

Reports on the Progress of Settlement Negotiations on November 8, 2018, December 21, 2018,

and February 4, 2019. Each Joint Report advised the Court that the negotiating teams continued

to make progress in reaching a proposed settlement. On February 22, 2019, the Court conducted

a status conference to consider, among other things, the status of settlement negotiations.

Plaintiffs and the City advised the Court that they were very close to reaching a proposed

settlement, but that the issue of an appropriate civil penalty to be paid by the City remained

unresolved.

       Subsequent to the recent status conference, the negotiating teams continued negotiations.

The negotiating teams have now resolved the civil penalty issue, as well as some other minor

issues. Therefore, the negotiating teams have reached a proposed final settlement, which each

negotiating team has agreed to recommend to its Party Principal for approval.

                                          NEXT STEPS

       The proposed settlement document consists of more than one hundred pages, and there

are a number of appendices. The negotiating teams need to finalize the document and the

appendices before each negotiating team will be able to initiate its respective approval process.
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In addition, the negotiating teams intend to discuss their respective approval processes and the

time needed for approval. Accordingly, the negotiating teams will discuss these issues this week

and begin their respective approval processes. Plaintiffs and the City will file a further Joint

Report within thirty days to inform the Court on the status of the approval process and initiation

of the public participation process.

                                         CONCLUSION

       Plaintiffs and the City are committed to completing the settlement process as promptly as

possible.




                                              Respectfully submitted,

                                              FOR THE UNITED STATES

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                                CERTIFICATE OF SERVICE


       I hereby certify that on March 11, 2019, a copy of the foregoing Fourth Joint Report on

the Progress of Settlement Negotiations was filed electronically with the Clerk of Court using the

CM/ECF system. I also certify that I caused this filing to be served by e-mail and U.S. Mail on

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